Case 3:22-cv-00049-NKM-JCH Document 271-1 Filed 08/01/23 Page 1 of 3 Pageid#: 3294




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

   BABY DOE, et al.,                         )
                                             )
         Plaintiffs,                         )
                                             )
   v.                                        )                 Case No. 3:22-cv-49-NKM
                                             )
   JOSHUA MAST, et al.,                      )
                                             )
         Defendants,                         )
                                             )
   and                                       )
                                             )
   UNITED STATES SECRETARY OF                )
   STATE ANTONY BLINKEN, et al.,             )
                                             )
         Nominal Defendants.                 )
   __________________________________________)

                       SECOND DECLARATION OF AHMAD OSMANI
                             PURSUANT TO 28 U.S.C. § 1746

         Pursuant to 28 U.S.C. § 1746, Ahmad Osmani hereby declares as follows:

      1. My name is Ahmad Osmani. I am a defendant named in the above-captioned lawsuit. I

         am over the age of 18 and competent to testify to the matters stated herein, all of which are

         based on my personal knowledge. I suffer from no disability that prevents me from making

         this declaration. All of the statements made herein are true and accurate to the best of my

         knowledge, information, and belief.

      2. I was born in Afghanistan in 1992 to Afghan parents, neither of whom were (or ever have

         been) U.S. citizens. I am a citizen of Afghanistan and of no other nation or country.

      3. I married a U.S. citizen in 2019 and I immigrated to the United States in June 2021.

      4. My immigration status is that of lawful permanent resident—that is, I reside in the United

         States (specifically, Tennessee) pursuant to a “Green Card.”


                                                                                      Exhibit A
Case 3:22-cv-00049-NKM-JCH Document 271-1 Filed 08/01/23 Page 2 of 3 Pageid#: 3295




      5. A true, accurate, and correct photograph of my Permanent Resident Card (a/k/a “Green

         Card”) is attached hereto as Exhibit 1 with appropriate redactions.

      6. I have never held or obtained U.S. citizenship; in fact, I am in the process of applying for

         U.S. citizenship at the current time.

         Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true
      and correct.


             Date: August 1, 2023




                                                       _____________________
                                                       Ahmad Osmani




                                                  2
Case 3:22-cv-00049-NKM-JCH Document 271-1 Filed 08/01/23 Page 3 of 3 Pageid#: 3296




                                                       EX. 1 (REDACTED)
